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UNITED STATES DISTRIC’I` COURT
SOUTHERN DIS'I`RICT OF NEW YORK

 

MAIKEL 'I`. SHONOUDA, CIVIL ACTION
Plaintiff, No. 1:17-cv~6098-RWS
v.

CHARLES J. NAFIE ARCHITECT DPC, and
CHARLES J. NAFIE, individually,

Defendants.

 

NOTICE OF MOTION
TO BE RELIEVED AS COUNSEL

TO: Peter H. Cooper, Esq.
Cilenti & Cooper, PLLC
708 Third Avenue - 6‘h Floor
New York, New York 10017
Attorney for Plaintifi`

Charles J. Nafie

Charles J. Nafie Archjtect DPC

30 E 60th St #905

New York, New York 10022

PLEASE TAKE NOTICE that the undersigned attorneys hereby move pursuant to
Local Q_iy. B. 1.4 to be relieved as counsel to Defendants Cha.rles J. Nafie Architect DPC and
Charles J. Nafle.

In support of this motion, the undersigned attorneys will rely on the supporting

Certiftcation of counsel, filed herewith solely by hard copy to the Court for in camera review per

the Court’s Order dated November 29, 2017 [DE 15]

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WASCH & RITSON LLC

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Dated: November 30, 2017

